Case 1:90-cr-00863-RJS Document 259

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

JAWAD AMIR MUSA
A/K/A “LEROY MOSES,”

Petitioner

- against -

UNITED STATES,

Defendant-Respondent

ROBERT P. PATTERSON, JR., U.S.D.J.

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90 Cr. 863 (RPP)

ORDER

On June 23, 2010, this Court denied the Petitioner’s motion to correct a clerical

error in his judgment and commitment order. On June 28, 2010, the Court received a

reply memorandum of law from petitioner Jawad Amir Musa, apparently written and

mailed before the Petitioner had received a copy of the June 23 order.

The Defendant was convicted by a jury of the crime charged in the indictment,

namely that he conspired to possess with intent to distribute one kilogram or more of

heroin, in violation of 21 U.S.C. § 846. The requested alteration of the judgment and

commitment order would thus be a substantive change, outside the narrow scope of

Federal Rule of Civil Procedure 36. The Court therefore affirms its June 23, 2010

holding denying the Petitioner’s motion.

The Court notes, however, that the length of the Petitioner’s sentence and time

served thereon makes him an appropriate applicant for executive clemency.
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IT IS SO ORDERED.
Dated: New York, New York

July 2 , 2010

Copies of this Order have been sent to:

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hy ith;

Robert P. Patterson, Jr.

US.D.J.
